Case 1:20-cv-01255-HYJ-PJG ECF No. 53, PageID.303 Filed 02/15/23 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION
                                         ______

MATTHEW L. LOTT,

                        Plaintiff,                       Case No. 1:20-cv-1255
v.                                                       Hon. Hala Y. Jarbou
CORIZION et al.,

                        Defendants.
____________________________/

                                                ORDER

        This is a civil rights action brought by a state prisoner under 42 U.S.C. § 1983. This matter

is presently before the Court on Plaintiff’s notice of appeal, (ECF No. 50), and his motion for leave

to appeal in forma pauperis (ECF No. 52). Plaintiff is appealing the Court’s December 29, 2022,

order, (ECF No. 48), denying his motion for relief from judgment, (ECF No. 46).

        By order and judgment entered May 5, 2022, (ECF Nos. 38, 39), the Court dismissed

Plaintiff’s remaining claims. Plaintiff filed a late notice of appeal relating to the order and

judgment. Plaintiff was granted leave to proceed in forma pauperis with respect to his action in

this Court, and under Federal Rule of Appellate Procedure 24(a)(3), Plaintiff would have been

permitted to continue that status on appeal unless this Court certified that an appeal would not be

taken in good faith. That provision is simply a specific example of the prohibition in 28 U.S.C.

§ 1915(a)(3), which provides “[a]n appeal may not be taken in forma pauperis if the trial court

certifies in writing that it is not taken in good faith.” Magistrate Judge Phillip J. Green, in his report

and recommendation, found that an appeal would be frivolous and, therefore, would not be filed

in good faith. (R&R, ECF No. 34, PageID.244.) The Court adopted the report and recommendation
Case 1:20-cv-01255-HYJ-PJG ECF No. 53, PageID.304 Filed 02/15/23 Page 2 of 2




as the opinion of the Court. (Order, ECF No. 38.) Accordingly, Plaintiff was not permitted to

continue his in forma pauperis status on appeal. (ECF No. 43.)

       Plaintiff’s filing of his motion for relief from judgment does not change his eligibility to

continue his in forma pauperis status on appeal. As noted in the Court’s December 29, 2022, order

denying relief from judgment, Plaintiff’s motion was entirely lacking in merit and, indeed,

confirmed the propriety of the Court’s dismissal of the remaining claims. (ECF No. 48.) Thus, for

all of the reasons stated in Magistrate Judge Green’s report and recommendation, as adopted by

the Court, Plaintiff’s present appeal would also not be taken in good faith. Therefore, he may not

continue his in forma pauperis status on appeal.

       Plaintiff has twenty-eight (28) days from the date of entry of this order to pay the entire

filing fee for appealing a civil action, which is $505.00, to the Clerk of this Court. Alternatively,

Plaintiff may file a motion for leave to proceed in forma pauperis in the Court of Appeals pursuant

to the requirements set forth in Fed. R. App. P. 24(a)(5). Plaintiff’s failure to comply with the order

may result in dismissal of this appeal without prejudice by the Sixth Circuit Court of Appeals for

want of prosecution. Accordingly,

       IT IS ORDERED that Plaintiff’s motion for leave to proceed on appeal in forma pauperis

(ECF No. 52) is DENIED.



Dated: February 15, 2023                               /s/ Hala Y. Jarbou
                                                       HALA Y. JARBOU
                                                       CHIEF UNITED STATES DISTRICT JUDGE
SEND REMITTANCES TO:
Clerk, U.S. District Court
399 Federal Bldg.
110 Michigan St., N.W.
Grand Rapids, MI 49503
All checks or other forms of payment shall be payable to “Clerk, U.S. District Court” and
must indicate the case number in which the payment is made.

                                                   2
